DATE 10/14/2016 JANIE GLOVER, DISTRICT CLERK RECEIPT # 38149
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YOU ARE HEREBY COMMANDED to appear before the Honorab|e 29th District Court of Paio Pinto §

"T~!"n

County, Texas at the Courthouse of said county in Pa|o Pinto, Texas, by filing a written answer, at
or before 10 o‘c!ock a.m. of the nrst Monday next after twenty days after the date of service of this
citation to Petitioner's Origéna| Petition filed in said Court, by CHRISTOPHER E STOY (Attorney for
P|airitiff or Piaintiff), whose address is 509 PECAN STREEI', SUITE 201, FORT WORTH, TEXAS 76102
ON the ZB‘h day of Septei~nberir 2616, in this case, numbered C47341 on the docket of said court,

and styled
CRAWFORD,SE?H VS STATE FARM LLOYDS

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The nature of Petitioner's demand is fully shown by a true and correct copy of Plaintiff‘s Originai
Petition accompanying this citation and m;de.a,».p`a£t;-_h_er`etc_a_.

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September, 2016. tfi_ iL.‘;§»;viS.v,-r g _' § - ;r;._./-, ., _' j k._,u:)i‘?>\_. §

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20__“_, by delivering to the within named defendants, to-

the ___.day of _ ,
w§t: at o'ciocl< _M, each, in person a true copy of this

 

citation with a true and correct copy of the Petitioner's Petition attached thereto having first endorsed
on such copy of said citation the date of delivery.

 

 

The distance actually traveled by me in serving such process was miles, and my
fees are as follows:
For serving this citation $ To certify which witness my hand officiaiiy.
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Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 3 of 18 Page|D 11

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health case or when n post-judgment petition for modification or motion for enforcement is filed in a family law case. 'i`he information should be ihe best available at

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3. indicate procedure or remedy, if applicable (ma\' select more than 1):

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4. lndicnte damages sought (do ourselch i]‘r'.r is afomily law ease):

 

 

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Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 5 of 18 Page|D 13

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The document to which this certificate is affixed is a fu|l,
true and correct copy of the original on til and of record
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JANlE GLOVEH,

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ease 4:16-@\/-00986-0 Document 1-2 Filed 10/21/16 Page 6 of 13 F>ageli‘j‘*tfél"’a’”‘B “‘1°“‘“ P'

Janie Glovr
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F'alo Pinto County, T

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cause No.

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Piainrrrr, §

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vs. § PAr,o PrNTo, rr»:xAs
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stare FARM LLovns §
§ 29TH
§ JuoicrAL orsrnrcr

Defendants.

PLAINTIFF’S OR_lG!NAL P_E§TITION
TO 'i`HE HONORABLE JUDGE OF SAID COURT:
Plaintit`f Seth Crawt`ord files this Original Pctition complaining of Statc Farm Lloyds.
This lawsuit arises from Statc Farm Llcyds’s failure to accept coverage pursuant to an insurance
policy for certain residential property damaged vandalism that occurred to his house on or about

August 9, 2016. PEaintift` Would respectfully show the Court as follows:

I.
DfSCOVERY CON'I`ROL PLAN

t_ Plaintit`t` intends that discovery be conducted under Discovery I.,evcl 3 pursuant to Tcxas
Rule of Civil Proccdure i90.4.

ll.
RULE 47

2. As required by Rulc 47(b), Texas Rulcs of Civil Procedore,` Plaintiff"s counsel states that
the damages sought are in an amount within the jurisdictional limits of this Court. As required
by Rule 4?(€), Texas Rules cf Civil Procedure, Plaintiff"s counsei states that Plaintiff seeks
monetary rcir`ef of over 51,0{)0,€)00, including damages of any kind, penalties, costs, expenses,

pre-judgment interest and anomey’s fees. The amount of monetary relief actually awarded,

PLAINTIFF’S ORIGINAL P}:`.TiTION Page 1

By: .|ulie Bo;
Depu

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 7 of 18 Page|D 15

however, will ultimately be determined by a jury. Plaintif`f also Seeks pre-judgment and post-

judgment interest at the highest legal rate.

lil.
PARTlES AND S!:`.RV|CE

3. Plaintiff Seth Cra\vford is an individual resident of Tarrant County, Texas. His social
security number is XXX-XX-X}?S. His Georgia driver’s license number is XXXXXXSZ§.

4. Defendant State i~`arm Lloyds is a foreign insurance company that transacts business in
the State of Texas. State Farm Lloyds may be served with process through its registered agent
Corporatiou Service Company dfb/a CSC ~ Lawyers Incorporating Service Contpany, 21 1 E. 7‘h
Street, Suite 620, Austin, Texas 78701,

IV.
VEi ‘UE AND JURISDICTION

5. Venue is proper in this Court pursuant to Texas Civil Practice & Remedies Code §
15,002(a) because atl or a substantial part of the events or omissions giving rise to Plat'ntif`f"s
claims occurred in Palo Pinto County, Texas.

6. This Court has jurisdiction because the amount in controversy is within the jurisdictional

iimits ofthis court.

V.
FACTUAL BACKGROUND

7. State Farm Lloyds issued Homeowner’s Policy Number SS~CW~EE_’>l-O (hereinai`ter
referred to as “the Policy”) which provided for loss of use and replacement cost coverage of the
Plaintiff”s home located at 1009 Mesquite Ridge, Graford, Texas ?6449 (hereinafter referred to
as the “Property"). The Policy was effective from June 30, 2016 to _lune 30, 2017.

8. On or about August 9, 2016, iohn Price entered the house and vandalized it. Mr. Price

broke two main entry doors and proceeded to do the following but not limited to: shattered both

PLATNTIF¥"’S ORIGINAL PETITION Page 2

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 8 of 18 Page|D 16

hallways with hammers and golf ciubs breaking double pain custom windows; took ali food from
the refrigerator and free standing freezer and violently threw it across house; took knives and
stabbed them into all personal and commissioned art paintings throughout house; picked up and
threw a Fredrick Remington bronze through the wall; threw collectable geology rocks through 3
TV’s_: busted and or drank -25 bottles of Napa wine and liquor; cracked tile floors throughout
house with busted bottles of wine; cracked wood floors with the Remington bronze ; busted
multiple bottles of wine and rocks thrown through various wails in the house.

9. Subsequent to the vandalism, rain storms have blown water inside the house between
plywood boarding up broken windows and causing damaged to window frames

10. Moreover, various tools in the detached shop were thrown on the ground breaking the
tools; the protective cabinet for the exterior cameras was beat on with a hammer as the criminal
tried to open it.

l l_ As a result of the vandalism, Mr. Crawford suffered significant losses, including real and
personal property damage and loss of use damages He also suffered mental anguish as a result
of the claim process

12. Plaintiff tiled a claim with State Farm i.loyds around the middle of August 2016.
(hereinafter referred to as “the Clairn" or “Plaintiff’s Ciaim”).

l3. State Farm Lloyds numbered Plaintift"s Clairn as 43-8){98-205.

14. State i~`arm Lloyds and Simone Striel<land and Debbie Parker to adjust the Claim.

l:'). Following the loss, Mr. Crawford obtained multiple estimates for general repairs, and tv
and electronic instalfation which be provided to Ms. Parker. 'I`he repairs estimates totaled
approximateiy 5160,000. Mr. Crawford also provided Ms. Stricldand with a spreadsheet listing

out personal property that was damaged or destroyed by the vandal. The personal property loss

PLAINTIFF’S ORIGINAL PETI'I`ION Page 3

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 9 of 18 Page|D 17

totals approximately $lSl,l 12. Further, Mr. Crawford suffered loss of use damages as he could
no longer use his home office

16. So far State Farm has only paid Mr. Crawford $24,447.05. State Farrn Lloyds is
continuing to delay the ciainis handling process and undervaluing Mr. Crawford’s claim. On
September i, 2016, Ms. Parker wrote Mr. Crawford a lengthy entail basically denying to pay for
most of Mr. Crawford’s claimed damages She has since wrote additional emails stating
unreasonable reasons for why she and State Farm are denying Plaintiff’s claim.

Vl.
CAUSES OF ACTION

A. Canses of Action Against State Farm Lloyds
l. Breach of Contract

17. Plaintiff adopts and incorporates each of the foregoing paragraphs into this section of the
Petition.

ES, Plaintif`f entered into an insurance contract (the Policy) with State Farm Lloyds, thus
making State Farrn Lloyds obligated to provide coverage to Plaintiff for any loss or damage to
his Property covered by the Policy. Piaintiff has incurred such losses.

19. State F arm Lioyds has materially breached the Policy by refusing to pay Plaintifi"s claim
in accordance with the Policy which constitutes a repudiation and/or breach of the Poiicy. Alf
conditions precedent to recovery have been performed or have occurred, yet State Farm Lloyds
has refused to fully pay Plaintiffon his valid Clairn.

20. As a resuit of State Farm Lloyds’s breach, Piaintiff was required to seek legal
representation Plaintiff is entitled to recover reasonable and necessary attorneys’ fees from

State Farm Lloyds in accordance with TEX. Ctv. PRAC. & REM. CODE § 33.00£. er seq.

PLAINTIFF’S ORIGINAL PETITION Page 4

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 10 of 18 Page|D 18

2. Violations of the "i`e_\'as lnsurance Code
21_ Plaintiff adopts and incorporates each of the foregoing paragraphs into this section of the
Petition.
22. State Farm l.loyds qualifies as a “Person...engaged in the business of insurance” as
defined by §541.002 of the Texas lnsurance Code.

23. i’laintifftimely filed his Ciairn with State Farm Lloyds. After filing the CIairn, estimates

were produced to State F arm Lloyds.
24. State Farm Lloyds failed to timely, and has yet to fully pay Plaintiff for the losses

sustained to his Property as covered by the Policy.

25. As a result of its failure to promptly and wholly cover Plaintiff"s losses, State Farm
Lloyds is liable to Plaintiff under the Texas insurance Code Chapter 541, §541.152 for unfair
settlement practices under the following provisions of §541.060(a):

(a}(Z) failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of:
(A) a claim with respect to which the insurer’s liability has become reasonably

clear

(3) failing to promptly provide to a policyholder a reasonable explanation of the basis
in the policy, in relation to the facts or applicable law_. for the insurer’s denial of a claim
or offer of a compromise settlement of a claim

(7) refusing to pay a claim without conducting a reasonable investigation with respect
to the claim

26. State l-`arrn Lioyds is also liable under unfair claim settlement practices under the Texas
lnsurance Code 542, §542.060 for faiiure to comply with provisions of §§542.003, 542.056, and
542.058, including the following:

§542.003
(b)(i} knowingly misrepresenting to a claimant pertinent facts or policy
provisions relating to coverage at issue

(2) failing to acknowledge with reasonable promptness pertinent
communications relating to a claim arising under the insurer’s policy;

PLAINTIFF’S OR_lGINAL PETITION Page 5

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 11 of 18 Page|D 19

(3) failing to adopt and implement reasonable standards for the prompt
investigation of claims arising under the insurer’s policy
(4) not attempting in good faith to effect a prompt, fair, and equitable
settlement of a claim submitted in which liability has become reasonably clear;
_ (5) compelling a policyholder to institute a suit to recover an amount due
under a policy by offering substantially less than the amount ultimately recovered in a
suit brought by a policyholder.

§542.056

(a) Except as provided in Subsection (b) or (d), an insurer shall notify a claimant
in writing of the acceptance or rejection of a claim not later than the 15ch business day
after the date the insurer receive all items, statements, and forms required by the insurer
to secure final proof of loss.

(c) lf the insurer rejects the claim, the notice required by Subsection (a) or (b)
must state the reasons for the rejection.

(d) if the insurer is unable to accept or reject the claim within the period specified
by Subsection (a) or (b), the insurer, within that same period, shall notify the claimant of
the reasons that the insurer needs additional time. "l`he insurer shall accept or reject the
claim not later than the 45"’ day after the date the insurer`notifies a claimant under this
subsection
§542.058

(a) Except as provided otherwise, if an insurer, after receiving all items,
statements, and forms reasonably requested and required under Section 542.055, delays
payment of the claim for a period exceeding the period specified by other applicable
statutes or, if other statutes do not specify a period, for more than 60 days, the insurer
shall pay damages and other items provided by Section 542.060.

Knowing Conduct by State Farm Llo_vds and Request for Attorneys’ Fees and
Request for Statutory lnterest

27. Each of the foregoing unfair settlement practices was committed knowingly by State
Farm Lloyds and was a producing cause of Plaintiff"s injuries and damages

28. Pursuant to Texas Insurance Code, Chapter 541.152, Plaintiff is entitled to three times his
actual damages, which include the loss of the benefits that should have been paid pursuant to the

policy, mental anguish, court costs, and attorneys’ fees.

PI.AINTIFF’S ORlGlNAL PETiTiON Page 6

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 12 of 18 Page|D 20

29. As a result of State Farm Lloyds‘s breach and failure to comply with its obligations under
the Policy and applicable law, Plaintiff seeks all reasonable and necessary anomeys’ fees as
provided by § 541.}52(2)(1) and 542.060 of the 'l`exas Insurance Code.

30. in addition to attorneys’ fees, Plaintiff is entitled to recover statutory interest at the rate of
18% per annum due to State Farm Lloyds’s failure to comply with Chapter 542.

3. Breach ol` the Common L.aw Dut_v of Good Faith and Fair Dealing

31. Defendant State Farrn l.loyds owed Plaintifl` the duty to deal fairly and in good faith in
processing Plaintift`s Claims. State Farm l.loyds breached its duty of good faith and fair dealing
by refusing to pay Plaintiff"s Claim and for intentionally undervaluing Plaintiff’s Claim.

4. Common Law Fraud

32. Defendant State Farrn Lloyds knowingly or recklessly made false misrepresentations as
set forth above, as to material facts and!or concealed all or part of material information from
Plaintiff with the intent of inducing Plaintiff to accept a denial and/or underpayment of insurance
benefits Defendant knew the failure to pay an!or underpayment was false. Plaintiff justifiably
relied upon Defendant’s misrepresentations and suffered injury as a result.

V ll
DAMAGES

33. As previously mentioned, the damages caused by the vandalism have not been properly
addressed or repaired causing undue hardship and burden to Plaintiff. 'i"hese damages are a
direct result of State Fan'n Lloyds’ mishandling of Plaintift"s Clairn in violation of the laws set
forth above_

34. For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is

the amount of his claim, together with attorneys’ fees.

PLAINTIFF’S ORIGZNAL PET|TION Page 7

Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 13 of 18 Page|D 21

35 . For noncompliance with the Texas lnsurance Code, Unfair Settlement Practices, Plaintiff
is entitled to actual damages, which include loss of the benefits that should have been paid
pursuant to the policy, mental anguish, court costs_. and attorneys’ fees.

36. For knowing conduct of the acts described above, Plaintit`f asks for three times his actual
damages 'l`EX. le. CODE § 541.152.

3?. For noncompliance with Texas lnsurance Code, Prompt Payment of Claims, Plaintiff is
entitled to the amount of his claim, as well as eighteen (IS) percent interest per annum on the
amount of such claim as damages, together with attorney's fees. TEX. INS. CODE §542.060.

38. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to
compensatory damages_. including all forms of loss resulting from the insurer's breach of duty,
such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer
owed, exemplary damages, and damages for emotional distress

39. F or violations of the Texas Deceptive Trade Practices Act, Plaintiff is entitled to actual
damages which include loss of the benefits that should have been paid pursuant to the policy,
mental anguish, court costs, and attomeys’ fees

40. For fraud, Plaintifl` is entitled to recover actual damages and exemplary damages for
knowingly fraudulent and malicious representations, along with attomey's fees, interest, and

COUIT COSES.

Vlll
'I`RIAL BY JURY

41. Plaintiff requests a trial by jury and will pay the applicable fee.

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Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 14 of 18 Page|D 22

lX
REOUEST FOR DlSCLOSURE

42, Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose

the information or material described in Rule 194.2.

IX
PRAYER

WHEREFORE, PR,EMISES CONSIDERED, Plaintiff prays that a formal judgment be

rendered for Plaintiff as follows:

1.

the jury;

2.

3.

Jtldgment against Defendant for actual damages in an amount to be determined by

Statutory benefits;

Treble damages;

Pre~judgment interest as provided by law;
Post-judgment interest as provided by law;
Attorneys’ fees;

Costs of suitj. and

Such other and further relief to which Plaintiffs may be justly entitled

Respectfully submitted,

/s/ Ch)'istop)'ter E. Srov
Cl~l R.ISTOPHER E. STOY

State Bar No. 24075 t 25
estoy@hsjustice.com
SUSAi ' E. HUTCHISON
State Bar No. l0354100

hutch@hsjustice.com

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Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 15 of 18 Page|D 23

HUTCHISON & S'l`OY, PLLC
509 Pecan Street, Suite ZOl
Fon Worth, Texas 76102

"fel: (817) 820~0100

Fa);: (817) 820-0111

ATTORNEYS FOR PLAINTIFF

PLAINTIFF’S ORIGINA{. PETITION Page 10

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Auome_v Christophcr Stoy

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Filcr T_\'pe Not Applicable

Damages Sought Over S | .000.000

Fees

Conveniencc Fee 59.39

Tolal Court Case Fees 5267.00

Total Court Pa.rt}l Fees S0.00

Total Court l"i|ing Fees 553.00

Total Court Ser\'ice Fees SO.DO

Total l-`iling & Service Fces S{].D(l

'l`olal Service Tax Fecs S0.00

'l`olal Providcr Ser\'ice Fces $0.0l)

Total Pro\'ider 'l'a_»c Fees S0.00

Grancl Total 5334.39

Pa_\'ment

Account r\‘amc HS

Transaction Amount 5334.39

Transaction Response

Transaction lD 20679648

Order # 0129578 l0~0

Petition

Filing T_\'pc EFile
Filing Code Petition

Filing Description
Rct‘erence l\'umber

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Status

Fees

Court Fee
Service Fee

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>Copies - Non-Certilied
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Documents

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Plaintil`l's Ori_t_tinal Petition

Seth Crawford

Please call our office at (817) 820-0100 when citation and Petition
arc ready for pick up. We will call our process server to pick up

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Case 4:16-cv-00986-O Document 1-2 Filed 10/21/16 Page 18 of 18 Page|D 26

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STATE OF TEXAS
COUNTY UF PALO PlNTU

The document to which this certificate is affixed is a full,
true and correct copy f the original on fi and of record
in my office _ ‘

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O C UNTY, TEXAS

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" BY DEPuTY

  
 
    
   

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